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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


MARYLAND SHALL ISSUE, INC., et al.,

                      Plaintiffs,

         v.                                          Case No. 1:16-cv-03311-ELH

LAWRENCE HOGAN, in his capacity as
GOVERNOR OF MARYLAND, et al.

                      Defendants.



                 [PROPOSED] ORDER GRANTING CONSENT MOTION
                       OF EVERYTOWN FOR GUN SAFETY

         It is ORDERED, on this ___________ day of _________ 2018, that Everytown for Gun

Safety’s consent motion to file an amicus curiae brief in support of defendants is HEREBY

GRANTED, and that Everytown for Gun Safety is permitted to file the proposed amicus curiae

brief.

                                                   SO ORDERED:




                                                   Hon. Ellen Lipton Hollander
                                                   United States District Judge




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